             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 1 of 32



 1   KRISTEN L. BOYLES (CSBA # 158450)
     PAULO PALUGOD (NYBA # 5047964)
 2   [Admitted Pro Hac Vice]
 3   EARTHJUSTICE
     810 Third Avenue, Suite 610
 4   Seattle, WA 98104
     Ph: (206) 343-7340
 5   kboyles@earthjustice.org
     ppalugod@earthjustice.org
 6

 7   ANDREA A. TREECE (CSBA # 237639)
     EARTHJUSTICE
 8   50 California Street, Suite 500
     San Francisco, CA 94111
 9   Ph: (415) 217-2089
     atreece@earthjustice.org
10

11   Attorneys for Plaintiffs
     [Additional counsel listed at end]
12
                           IN THE UNITED STATES DISTRICT COURT
13                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                    OAKLAND DIVISION
14

15   CENTER FOR BIOLOGICAL DIVERSITY,              Case No. 4:19-cv-05206-JST
     DEFENDERS OF WILDLIFE, SIERRA
16   CLUB, NATURAL RESOURCES                       Related Cases: No. 4:19-cv-06013-JST
     DEFENSE COUNCIL, NATIONAL PARKS                              No. 4:19-cv-06812-JST
17   CONSERVATION ASSOCIATION,
     WILDEARTH GUARDIANS, and THE
18
     HUMANE SOCIETY OF THE UNITED                  PLAINTIFFS’ JOINT OPPOSITION TO
19   STATES,                                       MOTION FOR VOLUNTARY REMAND
                                                   WITHOUT VACATUR
                           Plaintiffs,
20
            v.
21
     DEB HAALAND, U.S. Secretary of the
22   Interior, U.S. FISH AND WILDLIFE
     SERVICE, GINA RAIMONDO, U.S.
23   Secretary of Commerce, and NATIONAL
     MARINE FISHERIES SERVICE,
24
                           Defendants,
25
     and
26   STATE OF ALABAMA, et al.,
27                         Defendant-Intervenors

28

     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST
                 Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 2 of 32


                                                         TABLE OF CONTENTS
 1
                                                                                                                                            Page
 2

 3   INTRODUCTION ......................................................................................................................... 1
     BACKGROUND ........................................................................................................................... 3
 4
     ARGUMENT ................................................................................................................................. 6
 5             I.         REMAND WITH VACATUR IS THE APPROPRIATE REMEDY .................... 6
 6                        A.         The 2019 Rules Suffer from Serious Substantive and Procedural
                                     Errors that Will Likely Result in a Different Outcome on Remand .......... 8
 7
                          B.         Remand Without Vacatur Would Cause Significant Disruptive
 8                                   Consequences and Harm to Imperiled Species and Habitat .................... 12
 9                                   1.         The 2019 Rules will continue to cause harm to Plaintiffs’
                                                interests by harming threatened and endangered species and
10                                              their habitat .................................................................................. 13
11                                   2.         Leaving the 2019 Rules in effect will cause legal turmoil
                                                and public confusion, while vacatur will not cause
12                                              significant regulatory disruption .................................................. 18

13                                   3.         Remand with vacatur is within the Court’s equitable
                                                powers .......................................................................................... 21
14             II.        IN THE ALTERNATIVE, THE COURT SHOULD DENY THE
15                        SERVICES’ MOTION FOR VOLUNTARY REMAND AND ADDRESS
                          THE MERITS OF THIS CASE. .......................................................................... 23
16   CONCLUSION ............................................................................................................................ 25
17
18
19

20

21

22

23

24

25

26

27

28
      PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
      Case No. 4:19-cv-05206-JST                i
                Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 3 of 32



 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                              Page(s)
 3   Cases
 4   All. for Wild Rockies v. Marten,
         2018 WL 2943251 (D. Mont. June 12, 2018) ..........................................................................22
 5
     All. for the Wild Rockies v. U.S. Forest Serv.,
 6       907 F.3d 1105 (9th Cir. 2018) ...................................................................................................6
 7   Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n.,
         988 F.2d 146 (D.C. Cir. 1993) ...................................................................................7, 8, 12, 13
 8
     Am. Rivers v. Nat’l Marine Fisheries Serv.,
 9      No. 01-00640-SI, ECF 2396 (D. Or. Aug. 18, 2021) ..............................................................16
10   AquAlliance v. U.S. Bureau of Reclamation,
        312 F. Supp. 3d 878 (E.D. Cal. 2018)......................................................................................21
11
     ASSE Int’l, Inc. v. Kerry,
12      182 F. Supp. 3d 1059 (C.D. Cal. 2016) ...............................................................................7, 21
13   Burke v. Coggins,
        521 F. Supp. 3d 31 (D.D.C. 2021) ...........................................................................................20
14
     Cal. by & Through Becerra v. Azar,
15      501 F. Supp. 3d 830 (N.D. Cal. 2020) .....................................................................................19
16   Cal. Cmtys. Against Toxics v. EPA,
        688 F.3d 989 (9th Cir. 2012) .....................................................................................6, 7, 13, 22
17
     California v. BLM,
18      277 F. Supp. 3d 1106 (N.D. Cal. 2017) ...................................................................................22
19   Center for Biological Diversity v. Haaland,
        Case No. 4:19-cv-05206- JST (N.D. Cal. filed Aug. 19, 2019)...........................................1, 11
20
     Chlorine Chemistry Council v. EPA,
21      206 F.3d 1286 (D.C. Cir. 2000) ...............................................................................................24
22   In re Clean Water Act Rulemaking,
         Nos. 20-04636-WHA, 20-04869-WHA, 20-06137-WHA, 2021 WL 4924844
23       (N.D. Cal Oct. 21, 2021), appeals docketed and motions to stay filed by
         defendant-intervenors, Nos. 21-16958, 21-16960, 21-16961 (9th Cir.) ..................................22
24
     Ctr. for Env’t Health v. Vilsack,
25       2016 WL 3383954 (N.D. Cal. June 20, 2016) .....................................................................6, 18
26   Ctr. For Food Safety v. Vilsack,
         734 F. Supp. 2d 948 (N.D. Cal. 2010) .................................................................................6, 13
27

28

      PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
      Case No. 4:19-cv-05206-JST                ii
                Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 4 of 32



 1   Ctr. for Native Ecosystems v. Salazar,
         795 F. Supp. 2d 1236 (D. Colo. 2011) ...............................................................................21, 22
 2
     Humane Soc’y of the U.S. v. Locke,
 3     626 F.3d 1040 (9th Cir. 2010) ...................................................................................................6
 4   Idaho Farm Bureau Fed’n v. Babbitt,
        58 F.3d 1392 (9th Cir. 1995) ...............................................................................................6, 13
 5
     Klamath-Siskiyou Wildlands Ctr. v. Nat’l Oceanic & Atmospheric Admin.,
 6      109 F. Supp. 3d 1238 (N.D. Cal. 2015) .........................................................................7, 11, 21
 7   League of Wilderness Defs./Blue Mountains Biodiversity Project v. Pena,
        2015 WL 1567444 (D. Or. Apr. 6, 2015) ................................................................................21
 8
     California ex rel. Lockyer v. U.S. Dep’t of Agric.,
 9      575 F.3d 999 (9th Cir. 2009) ...................................................................................................11
10   N. Coast Rivers All. v. Dep’t of the Interior,
        2016 WL 8673038 (E.D. Cal. Dec. 16, 2016) ...................................................................22, 23
11
     N. Plains Res. Council v. U.S. Army Corps of Eng’rs,
12       454 F. Supp. 3d 985 (D. Mont. 2020) ......................................................................................16
13   Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv.,
        2005 WL 1278878 (D. Or. 2005).............................................................................................16
14
     National Audubon Soc’y v. U.S. Fish and Wildlife Serv.,
15      Order, No. 21-448 (S.D.N.Y. April 9, 2021) .............................................................................5
16   North Carolina v. EPA,
        531 F.3d 896 (D.C. Cir. 2008) .............................................................................................8, 12
17
     Nw. Env’t Advocs. v. EPA,
18      2018 WL 6524161 (D. Or. Dec. 12, 2018) ................................................................................6
19   Or. Nat. Desert Ass’n v. Zinke,
         250 F. Supp. 3d 773 (D. Or. 2017) ..........................................................................................11
20
     Pascua Yaqui Tribe v. EPA,
21      2021 WL 3855977 (D. Ariz. Aug. 30, 2021) ...........................................................................22
22   Pollinator Stewardship Council v. EPA,
        806 F.3d 520 (9th Cir. 2015) ........................................................................................... passim
23
     Scientists’ Inst. for Pub. Info. v. Atomic Energy Comm’n,
24       481 F.2d 1079 (D.C. Cir. 1973) ...............................................................................................11
25   SKF USA, Inc. v. United States,
        254 F.3d 1022 (Fed. Cir. 2001)................................................................................................23
26
     Sovereign Iñupiat for a Living Arctic v. Bureau of Land Mgmt.,
27      2021 WL 3667986 (D. Alaska Aug. 18, 2021) ........................................................................16
28

      PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
      Case No. 4:19-cv-05206-JST               iii
                  Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 5 of 32



 1   Tenn. Valley Auth. v. Hill,
        437 U.S. 153 (1978) .................................................................................................................17
 2
     Util. Solid Waste Activities Grp. v. EPA,
 3       901 F.3d 414 (D.C. Cir. 2018) .................................................................................................24
 4   Wagner v. Principi,
       370 F.3d 1089 (Fed. Cir. 2004)................................................................................................24
 5
     Statutes
 6
     2019 Endangered Species Act ............................................................................................... passim
 7
     Administrative Procedure Act................................................................................................ passim
 8
     Clean Water Act .............................................................................................................................22
 9
     ESA § 4 ..........................................................................................................................................14
10
     ESA § 7 .................................................................................................................................. passim
11
     ESA § 7(a)(2) .................................................................................................................................15
12
     Migratory Bird Treaty Act ...............................................................................................................5
13
     National Environmental Policy Act ....................................................................................... passim
14
     Other Authorities
15
     84 Fed. Reg. 44,753 (“Section 4(d) Rule”) ............................................................................1, 9, 19
16
     84 Fed. Reg. 44,976 (“Section 7 Rule”) ................................................................................ passim
17
     84 Fed. Reg. 45,020 (“Section 4 Rule”) ................................................................................ passim
18
     84 Fed. Reg. 64,210 (Nov. 21, 2019).............................................................................................15
19
     86 Fed. Reg. 2,744, 2,845 (Jan. 13, 2021) ...............................................................................16, 17
20
     86 Fed. Reg. 30,888, 30,890 (June 10, 2021) ................................................................................15
21
     86 Fed. Reg. 31,668, 39,690–91 (June 15, 2021) ..........................................................................14
22
     Executive Order 13990 ..........................................................................................................3, 5, 12
23

24

25

26

27

28

      PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
      Case No. 4:19-cv-05206-JST               iv
                Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 6 of 32



 1                                              INTRODUCTION 1
 2             Federal defendants, the U.S. Fish and Wildlife Service and the National Marine Fisheries
 3
     Service (collectively “the Services”), have filed a motion for voluntary remand without vacatur
 4
     of the 2019 Endangered Species Act (“ESA”) regulations challenged in these three related cases
 5
     (the “2019 Rules”). 2 Remand without vacatur is simply not appropriate given the Services’ own
 6

 7   acknowledgement that the current rules are substantially flawed. Those acknowledged flaws—

 8   which mirror the issues raised in Plaintiffs’ motions for summary judgment—should compel this

 9   Court to deny the motion to remand without vacatur and either remand with vacatur or proceed to
10   rule on the motions for summary judgment.
11
               The Services’ remand motion is remarkable for several reasons. First, the Services admit
12
     to “substantial and legitimate” problems with the legality of the 2019 Rules—even noting at one
13
     point that they share many of Plaintiffs’ concerns with the 2019 Rules. See ECF 146, 3 (“Fed.
14

15   Mot.”) at 22–23; see also id. at 25 (“although we may disagree with Plaintiffs’ substantive and

16   procedural challenges, Plaintiffs identify many of the same concerns with the 2019 ESA Rules”).

17   The Services do not defend the 2019 Rules at all, making no merits arguments on any claims
18
     raised in Plaintiffs’ summary judgment motions.
19
               Second, although this Court denied the Services’ motion to stay the litigation in October
20
     2021, the Services once again ask for essentially the same result: a permanent end to the
21
     litigation without any ruling by this Court on the merits and without any change in the currently
22

23
     1
         Plaintiffs in each of the three related cases are filing the same joint opposition.
24
     2
      The challenged ESA regulations are: 84 Fed. Reg. 45,020 (“Section 4 Rule”), 84 Fed. Reg.
25   44,753 (“Section 4(d) Rule”), and 84 Fed. Reg. 44,976 (“Section 7 Rule”).
     3
26     Unless otherwise noted, all ECF references are to numbers from the earliest filed case, Center
     for Biological Diversity v. Haaland, Case No. 4:19-cv-05206- JST (N.D. Cal. filed Aug. 19,
27   2019).
28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                 1
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 7 of 32



 1   controlling ESA regulations for an indefinite period of time. The Services seek voluntary
 2   remand without vacatur, a path that would leave the illegal and harmful 2019 Rules in place for
 3
     months, if not years, to come. Plaintiffs already addressed their substantial concerns with a
 4
     course of action that leaves the 2019 Rules in place for any significant length of time during the
 5
     briefing and argument on the stay motion, see ECF 135 at 6–11; ECF 145 (“Stay Transcript”) at
 6

 7   6–7, and the Court found that the harm from the continuing application of the 2019 Rules

 8   warranted denial of that motion. Stay Transcript at 21–23.

 9          Third, the Services now inform the Court and the parties that they have ceased work
10
     entirely on any proposed new rulemakings, despite having previously proffered a schedule for
11
     rulemaking and despite having made “significant progress” on the revised rules before pulling
12
     the plug once this Court denied the stay motion. ECF 146-1, Third Frazer Decl. ¶¶ 12–13; ECF
13
     146-2, Fourth Rauch Decl. ¶¶ 9–10. During the briefing and hearing on the stay motion, the
14

15   Services informed the Court that these new rulemakings were a high priority, and that they

16   planned to submit two of the proposed rules to the Office of Management and Budget (“OMB”)
17   by October 18, 2021. Instead of moving quickly to address their “substantial and legitimate”
18
     concerns with the 2019 Rules, the Services now state that, in light of this Court’s denial of their
19
     stay motion, they have opted to do nothing at all—declining even to submit proposed rules to
20
     OMB for review—unless and until the Court grants the Services’ motion for remand without
21

22   vacatur or rules on Plaintiffs’ pending summary judgment motions. Fed. Mot. at 22–23; Third

23   Frazer Decl. ¶¶ 12–14; Fourth Rauch Decl. ¶¶ 6, 9–11. It is hard to see how delaying proposals

24   that would address the Services’ “substantial and legitimate” concerns with the 2019 Rules
25   prioritizes the conservation of imperiled species and their habitat. With no work being done on
26
     any proposed rule revisions or rescission, neither Plaintiffs nor the Court can be sure that the
27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                 2
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 8 of 32



 1   Services will act in a timely way on remand, a situation that demands vacatur of the unlawful and
 2   harmful 2019 Rules as the baseline for species protection.
 3
            Granting the Services’ motion for remand without vacatur would be contrary to law and
 4
     would harm imperiled species, critical habitat, and Plaintiffs’ conservation interests. Plaintiffs
 5
     consequently ask the Court to deny the Services’ remand motion, and instead remand with
 6

 7   vacatur, as the Services admit that the 2019 Rules suffer from significant deficiencies, and they

 8   have failed to meet their burden to show that equity demands leaving the rules in place. In the

 9   alternative, if the Court declines to vacate the 2019 Rules, it should deny remand altogether and
10
     address the legal issues raised in Plaintiffs’ motions for summary judgment, issues that the
11
     Services have failed entirely to defend, and in many respects, now acknowledge are unlawful and
12
     must be fixed.
13
                                              BACKGROUND
14

15          In 2019, in three separate rulemakings, the Services issued sweeping regulatory changes

16   to the longstanding rules interpreting and implementing the ESA, our nation’s bedrock law to

17   protect and recover imperiled species and their habitats. This Court is familiar with what
18
     happened next. Three sets of Plaintiffs challenged the 2019 Rules as violating the ESA, the
19
     National Environmental Policy Act (“NEPA”), and the Administrative Procedure Act (“APA”).
20
     After the cases were related, the Services moved to dismiss the complaints on standing and
21
     ripeness grounds. When that effort failed, the Services produced a lengthy administrative record
22

23   (with instruction from the Court), and Plaintiffs filed motions for summary judgment on January

24   18 and 19, 2021.
25          Upon taking office on January 20, 2021, President Biden immediately issued Executive
26
     Order 13990, directing the Services to review the 2019 Rules with an eye toward maximizing
27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                 3
              Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 9 of 32



 1   environmental protections. Plaintiffs then agreed to three successive stays to allow the Services
 2   time to review and determine whether to rescind or revise the 2019 Rules—despite the fact that
 3
     the Services continued to apply aspects of the rules in many of their decisions to the detriment of
 4
     protected species and habitat. But when the Services moved to extend the stay until at least
 5
     December 2022 and January 2023—the dates on which the Services estimated they would issue
 6

 7   new ESA rules, ECF 132 at 1, 8, 10—Plaintiffs opposed such a prolonged stay.

 8           After argument on October 7, 2021, the Court denied the Services’ stay motion and

 9   ordered the parties to submit a proposed schedule to re-commence summary judgment briefing.
10
     ECF 138. The Court specifically found that “the government has conceded today that the
11
     Services continue to apply aspects of the challenged rules in their decisions, potentially or
12
     actually injuring the interests that plaintiffs filed this litigation to protect.” Stay Transcript at 21.
13
     The Court continued:
14

15           The government argues that the plaintiffs’ challenge is as applied and not as to
             any particular agency decision. But I am not persuaded by that argument. It’s not
16           that the plaintiffs don’t want these regulations applied in a particular situation.
             They don’t want them applied in any situation. And so while they’re on the
17           books, I think that the plaintiffs make out a case of a possible damage.
18
     Id. at 22–23.
19
             Pursuant to the parties’ stipulated and court-approved summary judgment briefing
20
     schedule, Plaintiffs re-filed their motions for summary judgment on October 15, 2021. On
21

22   December 10, 2021, the Services filed “Federal Defendants’ Motion for Voluntary Remand;

23   Response to Plaintiffs’ Motions for Summary Judgment; and Memorandum of Points and

24   Authorities.” ECF 146. Despite its title, the Services’ filing does not touch upon the substance
25   of Plaintiffs’ motions for summary judgment and, instead, is solely focused on advocating for
26
     voluntary remand without vacatur. In essence, despite the Court’s recent denial of the Services’
27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                 4
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 10 of 32



 1   stay motion, the Services are again asking this Court to keep the rules in effect indefinitely
 2   without any ruling on the merits.
 3
            At the same time, it is now clear that the rulemakings will take even longer than
 4
     previously represented, as the Services ceased all work on the rulemakings immediately
 5
     following the Court’s order denying their stay motion. According to the Services:
 6

 7          Due to the uncertainty surrounding the possible status of the challenged rules after
            the Court resolves Plaintiffs’ motions for summary judgment, DOI does not
 8          intend to submit proposed rules to OMB until after the Court issues a decision on
            the motions. Instead, DOI is moving on to other agency priorities in the near
 9          term. However, should the Court remand the rules to the Services as requested,
            FWS would again make the rulemaking revisions a high priority, and rulemaking
10
            would once again proceed expeditiously.
11
     Third Frazer Decl. ¶ 14; see also Fourth Rauch Decl. ¶ 11 (same). Given this capricious
12
     response to the Court’s denial of their stay motion, it is hard to countenance the Services’
13
     position that these rules purportedly would rise to a “high priority” even after a remand,
14

15   especially if these cases are no longer pending. 4

16          In support of their current motion, the Services also acknowledge that they have
17   “substantial and legitimate concerns over many aspects of these rules.” Fed. Mot. at 22–23;
18
     Fourth Rauch Decl. ¶ 7 (“NOAA has substantial concerns about whether portions of the 2019
19
     Joint ESA Rules are consistent with the goals and purposes of the ESA and EO 13990”); Third
20
     Frazer Decl. ¶ 4 (“After completing its review of the regulations, DOI has identified substantial
21

22   concerns that warrant reexamination of each of the challenged rules”). The Services identify

23

24   4
       Ongoing litigation has not precluded the Services from working on, and in fact expediting, new
25   rulemakings to reverse prior administration rules. For example, in litigation over Migratory Bird
     Treaty Act rules, FWS did not stop working on a new rulemaking after the court stated it was
26   “highly unlikely to entertain additional requests to delay this case due to the pendency of a new
     regulation” and plaintiffs filed for summary judgment. National Audubon Soc’y v. U.S. Fish and
27   Wildlife Serv., Order, No. 21-448 (VEC) (S.D.N.Y. April 9, 2021).
28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                 5
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 11 of 32



 1   numerous specific “substantial concerns” with various sections of the 2019 Rules. Fed. Mot. at
 2   20, 23–25; Third Frazer Decl. ¶¶ 4–11; Fourth Rauch Decl. ¶¶ 7–8. In fact, in a brief with a 10-
 3
     page argument section, the Services’ list of substantial concerns spans half of the pages. And
 4
     despite the fact that many of these concerns mirror those raised by Plaintiffs, the Services make
 5
     no attempt to actually address the arguments raised in Plaintiffs’ summary judgment briefs.
 6

 7                                              ARGUMENT

 8   I.     REMAND WITH VACATUR IS THE APPROPRIATE REMEDY.

 9          Vacatur is the normal remedy in cases where a court orders a remand of a challenged

10   agency action. See, e.g., All. for the Wild Rockies v. U.S. Forest Serv., 907 F.3d 1105, 1121–22
11
     (9th Cir. 2018). Remand without vacatur is an unusual and disfavored remedy, ordered only in
12
     “rare circumstances” when the balance of equities requires that the rules remain in place pending
13
     reconsideration. Humane Soc’y of the U.S. v. Locke, 626 F.3d 1040, 1053 n.7 (9th Cir. 2010);
14
     see Pollinator Stewardship Council v. EPA, 806 F.3d 520, 532 (9th Cir. 2015) (“We order
15

16   remand without vacatur only ‘in limited circumstances’ … only ‘when equity demands’ that we

17   do so”) (quoting Cal. Cmtys. Against Toxics v. EPA, 688 F.3d 989, 994 (9th Cir. 2012) and Idaho
18   Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1405 (9th Cir. 1995)); Ctr. For Food Safety v.
19
     Vilsack, 734 F. Supp. 2d 948, 951 (N.D. Cal. 2010) (“[T]he Ninth Circuit has only found remand
20
     without vacatur warranted by equity concerns in limited circumstances, namely serious
21
     irreparable environmental injury.”). Because vacatur is the “ordinary remedy,” the Services
22

23   “bear[] the burden of demonstrating vacatur is inappropriate.” Nw. Env’t Advocs. v. EPA, 2018

24   WL 6524161, at *3 (D. Or. Dec. 12, 2018); see also Ctr. for Env’t Health v. Vilsack, 2016 WL

25   3383954, at *13 (N.D. Cal. June 20, 2016) (“[G]iven that vacatur is the presumptive remedy for
26   a ... violation such as this, it is Defendants’ burden to show that vacatur is unwarranted”).
27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                 6
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 12 of 32



 1          When weighing the equities of leaving a challenged rule in place while an agency
 2   reconsiders it, courts in the Ninth Circuit apply the two-part test described in Allied-Signal, Inc.
 3
     v. U.S. Nuclear Regul. Comm’n., 988 F.2d 146 (D.C. Cir. 1993). 5 The Allied-Signal test
 4
     evaluates both: (1) the seriousness of the agency’s errors, and (2) the potential disruptive
 5
     consequences of vacatur. Cal. Cmtys. Against Toxics, 688 F.3d at 992 (citing Allied-Signal, 988
 6

 7   F.2d at 150–51). In analyzing the first factor, courts assess “whether the agency ... could adopt

 8   the same rule on remand, or whether [the] fundamental flaws in the agency’s decision make it

 9   unlikely that the same rule would be adopted on remand.” Pollinator Stewardship Council, 806
10
     F.3d at 532. As to the second factor, “courts may decline to vacate agency decisions when
11
     vacatur would cause serious and irremediable harms that significantly outweigh the magnitude of
12
     the agency’s error.” Klamath-Siskiyou Wildlands Ctr. v. Nat’l Oceanic & Atmospheric Admin.,
13
     109 F. Supp. 3d 1238, 1242 (N.D. Cal. 2015) (internal quotations and citations omitted).
14

15          Here, the Services fail to meet the high bar for remand without vacatur. For the reasons

16   detailed in Plaintiffs’ summary judgment briefs, the 2019 Rules violate the ESA, NEPA, and the
17   APA. See generally ECF 142. Indeed, the Services concede that the 2019 Rules have
18
     substantial flaws, that their continued implementation will cause confusion and disruption, and,
19
     as a result, the Services plan to reconsider and replace the rules. Fed. Mot. at 23–25; Third
20
     Frazer Decl. ¶¶ 4–11; Fourth Rauch Decl. ¶¶ 7–8; Stay Transcript at 14–25. Moreover, the
21

22   Services have made only a faint attempt to demonstrate why equity demands that the 2019 Rules

23   be left in place. Yet the overwhelming and potentially irreversible harms from continuing to

24   apply the 2019 Rules for an unspecified, and likely lengthy, new rulemaking period vastly
25
     5
26     “Courts faced with a motion for voluntary remand employ the same equitable analysis” that
     “courts use to decide whether to vacate agency action after a rul[ing] on the merits.” ASSE Int’l,
27   Inc. v. Kerry, 182 F. Supp. 3d 1059, 1064 (C.D. Cal. 2016) (quotations omitted).
28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                 7
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 13 of 32



 1   outweigh any disruption from vacating the rules promptly and restoring the previous long-
 2   standing regulatory framework that is familiar to the Services, Plaintiffs, regulated entities, and
 3
     the public. Accordingly, because both Allied-Signal factors strongly support the ordinary and
 4
     favored remedy of vacatur, the Court should exercise its equitable authority and vacate the 2019
 5
     Rules on remand.
 6

 7          A.      The 2019 Rules Suffer from Serious Substantive and Procedural Errors that Will
                    Likely Result in a Different Outcome on Remand.
 8
            Vacatur of the 2019 Rules is justified because the 2019 Rules are unlawful, as discussed
 9
     in detail in Plaintiffs’ summary judgment motions, and the Services have offered no defense.
10

11   The first Allied-Signal factor is met, as the seriousness of an agency’s errors turns on “the extent

12   of doubt whether the agency chose correctly.” Allied-Signal, 988 F.2d at 150 (quotation

13   omitted). In other words, if the agency is likely to be able to justify its decision on remand, the
14   errors were likely not serious and vacatur may not be appropriate. See id. at 150–51. But if the
15
     outcome of a rule is likely to change on remand, as here, vacatur is warranted to address the
16
     agency’s serious errors while the agency reconsiders the challenged rule. Id.; see also Pollinator
17
     Stewardship Council, 806 F.3d at 532 (to meet its burden of proof regarding no vacatur, an
18
19   agency must be able to show that it “could adopt the same rule on remand”); North Carolina v.

20   EPA, 531 F.3d 896, 929 (D.C. Cir. 2008) (finding that the court must vacate agency rule where

21   its “fundamental flaws” foreclose the agency “from promulgating the same standards on
22
     remand”) (quotation omitted).
23
            Here, the Services committed a number of serious substantive and procedural errors that
24
     will change the outcome and preclude readoption of the same rules on remand, and they failed to
25
     offer any defense of the 2019 Rules at all in response to Plaintiff’s Motion for Summary
26

27   Judgment. See Fed. Mot. at 22–23, 25, 30; Third Frazer Decl. ¶¶ 4–11; Fourth Rauch Decl. ¶¶

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                 8
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 14 of 32



 1   7–8. For example, FWS eliminated the Blanket 4(d) Rule, the 40-year-old rule that provided
 2   immediate protection to threatened species, without offering a rational connection between the
 3
     facts found and the choice made, or providing an adequate justification for its change in long-
 4
     standing policy. See ECF 142 at 15–19. FWS now admits to substantial concerns regarding
 5
     elimination of the Blanket 4(d) Rule, acknowledging that the Section 4(d) Rule (eliminating the
 6

 7   Blanket 4(d) Rule) “provides less flexibility and may require additional resources at the time of

 8   listing as compared to the blanket rule,” and that their “prior practice worked to conserve

 9   threatened species efficiently by providing protections for every newly listed threatened species
10
     in the absence of species-specific 4(d) rules.” Third Frazer Decl. ¶ 5; see also Fed. Mot. at 23.
11
     For the Section 4(d) Rule, remand will change the outcome without question, as FWS plans to
12
     rescind the rule entirely. Third Frazer Decl. ¶ 5; Fed. Mot. at 17.
13
            The Section 4 and Section 7 Rules also violate the ESA for the many reasons detailed in
14

15   Plaintiffs’ motions for summary judgment. See, e.g., ECF 142 at 7 (“[I]nject[ing] economic

16   considerations into the listing process violates the plain language of the ESA and is arbitrary and
17   capricious.” (quotations omitted)); id. at 7–8 (definition of foreseeable future “violates the ESA’s
18
     plain language, its best available science requirement, and Congress’s intent to give the benefit
19
     of the doubt to the species.” (quotations omitted)); id. at 9–10 (changes to the delisting process
20
     undermine the conservation purpose of the ESA); id. at 20 (“[R]evisions to [the Services’]
21

22   longstanding regulations governing consultation violate the plain language of Section 7, ...

23   undermine the ESA’s conservation purposes and contradict Congress’s intent to prioritize

24   species protection over the primary missions of federal agencies.”).
25          Again, the Services do not defend these violations, but instead acknowledge significant
26
     concerns with the legality of the 2019 Rules. For example, with regard to the Section 4 Rule, the
27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                 9
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 15 of 32



 1   Services admit to “similar concerns” with their removal of regulatory language that reinforces
 2   the statutory mandate that the Services may not consider economic information in their listing
 3
     decisions. Fed. Mot. at 23 (the removal of this language “has the potential to cause confusion
 4
     regarding the Services’ intentions” and may also “create a risk that economic information may
 5
     influence the listing determination, which would run afoul of the statutory language”); Third
 6

 7   Frazer Decl. ¶¶ 6–7; see also Fourth Rauch Decl. ¶ 7. In fact, the Services previously committed

 8   to remove this language in its entirety and reinstate the prior language, a 180-degree change from

 9   the 2019 Rules. Fed. Mot. at 17, 23.
10
            The Services further admit to having “substantial concerns” about several other
11
     provisions in the Section 4 and Section 7 Rules. Fed. Mot. at 24–25. These include provisions:
12
     (1) expanding the circumstances under which the Services may determine it is “not prudent” to
13
     designate critical habitat; (2) limiting the circumstances under which the Services may designate
14

15   currently unoccupied critical habitat; and (3) redefining the “effects of the action” for purposes

16   of Section 7 inter-agency consultation. Third Frazer Decl. ¶¶ 7–9, 11; see also Fourth Rauch
17   Decl. ¶ 7. Some of the statements in the Third Frazer Declaration on these aspects of the 2019
18
     Rules are, again, strikingly similar to the arguments made in Plaintiffs’ summary judgment
19
     motions. 6 The Services further note that aspects of the Section 7 revisions could result “in
20

21

22

23   6
       See Third Frazer Decl. ¶¶ 7–9 (among other acknowledged issues and concerns with the 2019
     Rules: (1) the “not prudent” rule erroneously suggested that the Services can “regularly decline
24   to designate critical habitat for species threatened by climate change”; (2) revisions regarding
25   unoccupied habitat “may go beyond their intended purpose” of ensuring that critical habitat
     designations “actually contribute to” species conservation; and (3) “changes to related to ‘effects
26   of the action’ could be erroneously interpreted by other agencies or the public to narrow the type
     and/or extent of effects of a proposed federal agency action that the Services will consider during
27   the consultation process”).
28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                10
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 16 of 32



 1   allocation of resources that could detract from the Services’ effective implementation of Section
 2   7.” Third Frazer Decl. ¶ 9.
 3
            The Services also violated NEPA in adopting the 2019 Rules. See ECF 142 at 29–36.
 4
     The Services again acknowledge “substantial concerns” relating to their NEPA compliance. Fed.
 5
     Mot. at 25; Third Frazer Decl. ¶ 10; Fourth Rauch Decl. ¶ 8. The Services did not engage in any
 6

 7   NEPA review of the 2019 Rules, despite the fact that these regulations constitute major federal

 8   actions for which an environmental review is required. See ECF 142 at 29–36; Scientists’ Inst.

 9   for Pub. Info. v. Atomic Energy Comm’n, 481 F.2d 1079, 1088 (D.C. Cir. 1973). The Services
10
     admit that the record fails to support their decision to rely on categorical exclusions to avoid
11
     NEPA review. 7 Fed. Mot. at 25; Third Frazer Decl. ¶ 10; Fourth Rauch Decl. ¶ 8 (Services “will
12
     reconsider the categorical exclusions in the context of any future rulemaking”). The Services’
13
     failure to engage in NEPA review is a particularly compelling reason for vacatur, as failure to
14

15   comply with NEPA undermines every section of the 2019 Rules. California ex rel. Lockyer v.

16   U.S. Dep’t of Agric., 575 F.3d 999, 1020 (9th Cir. 2009) (upholding vacatur and reinstatement of
17   prior regulation based on NEPA violation).
18
            These serious deficiencies in the 2019 Rules go far beyond “mere technical or procedural
19
     formalities that the [Services] can easily cure” and which would justify remand without vacatur.
20
     Klamath-Siskiyou Wildlands Ctr., 109 F. Supp. 3d at 1244. Rather, contrary to the Services’
21

22   argument (Fed. Mot. at 28), their errors go to the very core of the 2019 Rules, “contravening the

23   purposes of the statute in question”—the ESA. Or. Nat. Desert Ass’n v. Zinke, 250 F. Supp. 3d

24   773, 774 (D. Or. 2017); Third Frazer Decl. ¶ 4 (“DOI has identified substantial concerns that
25
     7
26     The Services do not address the Center for Biological Diversity Plaintiffs’ claim about the
     failure to engage in inter-agency Section 7 consultation prior to adopting the 2019 Rules at all.
27   ECF 142 at 36–39.
28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                11
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 17 of 32



 1   warrant reexamination of each of the challenged rules”) (emphasis added); Fourth Rauch Decl. ¶
 2   7 (“NOAA has substantial concerns about whether portions of the 2019 … Rules are consistent
 3
     with the goals and purposes of the ESA and EO 13990”).
 4
            Significantly, these “fundamental flaws” also “make it unlikely that the same rule would
 5
     be adopted on remand.” Pollinator Stewardship Council, 806 F.3d at 532; see also North
 6

 7   Carolina v. EPA, 531 F.3d at 929–30 (vacating rule upon remand given agency’s “fundamentally

 8   flawed” approach). The Services admit that for several of the challenged provisions, they will

 9   not simply supply “better reasoning” on remand such that the “same rule would be adopted,” but
10
     will instead rescind or substantially revise those sections, and potentially a number of other
11
     provisions as well. See Pollinator Stewardship Council, 806 F.3d at 532; Fed. Mot. at 22–23
12
     (declaring Services’ intent, at the direction of President Biden and “[f]ollowing their review and
13
     evaluation of the challenged rules, … to engage in rulemaking to revise and rescind the
14

15   challenged 2019 ESA Rules because they have substantial and legitimate concerns over many

16   aspects of these rules”); Third Frazer Decl. ¶ 11 (Services considering rescinding or revising
17   specified provisions of the 2019 Rules, as well as other unspecified revisions to both the Section
18
     4 and Section 7 Rules). Having acknowledged that there are serious legal problems and concerns
19
     with the 2019 Rules, the Services effectively admit there is no “serious possibility that [they] will
20
     be able to substantiate [their] decision on remand.” Allied-Signal, 988 F.2d at 151. This fact, as
21

22   well as the magnitude of the Services’ substantive and procedural errors, weigh heavily in favor

23   of vacating the 2019 Rules.

24          B.      Remand Without Vacatur Would Cause Significant Disruptive Consequences and
                    Harm to Imperiled Species and Habitat.
25
            Regarding the second Allied-Signal factor, a remand without vacatur is only appropriate
26

27   if the “disruptive consequences of an interim change” justify leaving a rule temporarily in place

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                12
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 18 of 32



 1   while the agency reconsiders it. Allied-Signal, 988 F.2d at 150–51. But the opposite is true here.
 2   Allowing the Services to continue implementing the 2019 Rules would create legal turmoil and
 3
     result in continued environmental harms—effects the Services themselves acknowledge. By
 4
     contrast, vacating the 2019 Rules would not cause significant disruptions and would ensure
 5
     against harm to Plaintiffs and their interests; the Services make no credible attempt to meet their
 6

 7   burden to demonstrate otherwise.

 8                  1.      The 2019 Rules will continue to cause harm to Plaintiffs’ interests by
                            harming threatened and endangered species and their habitat.
 9
            In weighing the consequences of remand with or without vacatur, courts favor the remedy
10

11   that best avoids environmental harm. See, e.g., Pollinator Stewardship Council, 806 F.3d at 532

12   (vacating a challenged rule where leaving the rule in place “risks more potential environmental

13   harm than vacating it”); Idaho Farm Bureau Fed’n, 58 F.3d at 1405–06 (vacatur of listing rule
14   was not appropriate because it would risk potential extinction of an endangered snail); Cal.
15
     Cmtys. Against Toxics, 688 F.3d at 994 (vacatur of air quality rule inappropriate because it could
16
     lead to increased air pollution); Ctr. For Food Safety, 734 F. Supp. 2d at 951 (“[T]he Ninth
17
     Circuit has only found remand without vacatur warranted by equity concerns in limited
18
19   circumstances, namely serious irreparable environmental injury.”). Here, vacatur is the only

20   option that avoids continuing environmental harms to listed species and their habitat due to the

21   loss of, or significant reductions in, ESA protections that the Services themselves appear to admit
22
     are a direct and ongoing consequence of the 2019 Rules.
23
            As this Court has already held, Plaintiffs have been harmed by the promulgation and
24
     ongoing application of the 2019 Rules, and the Services’ request for voluntary remand without
25
     vacatur would continue to cause Plaintiffs concrete and specific harm. See ECF 135; ECF 90, ¶¶
26

27   12–16 and attached declarations at ECF 90-2 to 90-26; Case No. 4:19-cv-06013-JST: ECF 162-1

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                13
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 19 of 32



 1   (Decl. of C. Dibble), ECF 162-2 (Decl. of E. Schluter), ECF 162-3 (Decl. of T. Jones), ECF 162-
 2   4 (Decl. of D. Feldkirchner); Case No. 4:19-cv-06812-JST: ECF 62-2 (Decl. of A. Fetters), ECF
 3
     62-3 (Decl. of L. Garner), ECF 62-5 (Decl. of L. Patten). Until vacated by this Court or
 4
     revised/withdrawn by the Services, the 2019 Rules are binding on the agencies. Without vacatur,
 5
     the 2019 Rules will continue to govern the Services’ actions and decisions with respect to
 6

 7   imperiled species and critical habitat designations. See, e.g., ECF 90-25, Whitehurst Decl. ¶¶

 8   11–13 (One Lake Project biological opinion and use of 2019 Section 7 Rule defining destruction

 9   or adverse modification of critical habitat); ECF 90-7, Donnelly Decl. ¶ 11 (Lee Canyon Ski
10
     Area biological opinion and critical habitat definition). Indeed, the Services’ use of and reliance
11
     on the 2019 Rules has only continued since this litigation was filed in 2019, as has the harm to
12
     species, habitats, and Plaintiffs’ interests. The Services admit that the 2019 Rules are in effect
13
     and continue to be applied. See Stay Transcript at 25 (Mr. Howell: “I will concede we are
14

15   applying the regulations as we speak today”).

16          For example, several recent proposed critical habitat designations under ESA Section 4
17   have relied on the 2019 Rules to omit important areas from protection as critical habitat. In its
18
     proposed listing of the Mount Rainier white-tailed Ptarmigan as threatened, FWS determined
19
     that it was not prudent to designate any critical habitat because the primary threats to the bird
20
     were posed by climate change and “[t]here are no management actions … that could address the
21

22   impacts of climate change on the habitat and microrefugia that support this subspecies”—a

23   rationale grounded in a provision of the 2019 Rules Plaintiffs challenge. 86 Fed. Reg. 31,668,

24   39,690–91 (June 15, 2021). 8
25

26
     8
27     The Services now admit that this regulatory language is problematic and was not intended to
     allow the Services to “regularly decline to designate critical habitat for species threatened by
28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                14
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 20 of 32



 1          This “not prudent” analysis echoes that in the final rule listing two species of stonefly as
 2   threatened in 2019. Although FWS had previously found designation of critical habitat to be
 3
     “prudent but not determinable,” the final rule relied on the 2019 Section 4 Rule to decline to
 4
     protect any habitat because the primary impact to the fly’s habitat was climate change: “[t]here
 5
     are no management actions resulting from consultations under section 7(a)(2) of the Act that
 6

 7   could address the impacts of climate change and drought on the meltwater sources that supply

 8   the habitats for these species.” 84 Fed. Reg. 64,210 (Nov. 21, 2019); see also ECF 90-17,

 9   Nagano Decl. ¶¶ 10–11, 14–16; id. at ¶ 20 (“FWS’s failure to protect the stoneflies’ critical
10
     habitat, based on the Service’s revisions to the ESA’s implementing regulations challenged in
11
     this case, harms my interest in the stoneflies as it deprives them of essential protections and
12
     makes it less likely that they will remain in their native habitats for me to hopefully see and
13
     enjoy.”).
14

15          In the proposed critical habitat designation for the Texas hornshell, a freshwater mussel,

16   FWS relied on the 2019 Rules throughout, finding that it will “only consider unoccupied areas to
17   be essential where a critical habitat designation limited to geographical areas occupied by the
18
     species would be inadequate to ensure the conservation of the species.” 86 Fed. Reg. 30,888,
19
     30,890 (June 10, 2021). Plaintiffs also have challenged provisions of the 2019 Rules that permit
20
     the Services to exclude unoccupied habitat or to refuse to designate critical habitat as “not
21

22   prudent” on a wide variety of grounds.

23          The Services similarly have been applying challenged provisions of the 2019 Rules in

24   inter-agency consultations under ESA Section 7. For example, the ConocoPhillips Willow
25

26
     climate change.” Third Frazer Decl. ¶ 7. Yet clearly, that is how the 2019 Rules are being used
27   and have been since their promulgation.
28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                15
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 21 of 32



 1   project in the western Arctic threatens imperiled species like polar bears and caribou. Yet the
 2   Biden Administration relied on the challenged, revised Section 7 mitigation requirements in the
 3
     2019 Rules to defend these permit approvals. See Sovereign Iñupiat for a Living Arctic v.
 4
     Bureau of Land Mgmt., 2021 WL 3667986, at *39–41 (D. Alaska Aug. 18, 2021).
 5
            Likewise, in the long-running litigation over federal management of four dams on the
 6

 7   lower Snake River, the 2020 biological opinion addressing harm to threatened salmon and orcas

 8   relied on the challenged, revised definition of the term “environmental baseline” in the 2019

 9   Rules to support its analysis. Am. Rivers v. Nat’l Marine Fisheries Serv., No. 01-00640-SI, ECF
10
     2396, Corrected Eighth Suppl. Compl. (D. Or. Aug. 18, 2021) (excerpt previously filed at ECF
11
     135-1). Yet the court in that case had previously found that same path to truncated Section 7
12
     consultation analysis invalid. Nat’l Wildlife Fed’n v. Nat’l Marine Fisheries Serv., 2005 WL
13
     1278878, at *9–11 (D. Or. 2005) (subsequent history omitted) (finding that comparing the effects
14

15   of proposed dam operations to the effects of previous dam operations, as opposed to effects

16   without any dam operations, “conflicts with the structure, purpose, and policy behind the ESA”).
17          The U.S. Army Corps of Engineers is also relying on the 2019 Rules to justify its failure
18
     to undertake ESA consultation on permits concerning oil and gas pipelines. Several of the
19
     conservation plaintiffs here brought and won a lawsuit challenging the Corps’ failure to engage
20
     in programmatic Section 7 consultation on the effects of a nationwide permit on protected
21

22   species. See N. Plains Res. Council v. U.S. Army Corps of Eng’rs, 454 F. Supp. 3d 985 (D.

23   Mont. 2020). Nonetheless, in 2021, the Corps issued new nationwide permits and again failed to

24   engage in any programmatic Section 7 consultation, specifically relying on the “current ESA
25   section 7 regulations,” to justify that failure. 86 Fed. Reg. 2,744, 2,845 (Jan. 13, 2021). The
26
     Corps also emphasized that the changes made in the 2019 Rules, particularly the “reasonably
27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                16
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 22 of 32



 1   certain to occur” standard, and the regulatory language stating that adverse effect determinations
 2   must be based on “clear and substantial information,” would control whether site-specific
 3
     consultations would even be done. Id.
 4
            These examples illustrate what this Court has already found in ruling on the Services’
 5
     motions to dismiss and motion to stay—that Plaintiffs are harmed by the challenged regulations.
 6

 7   Stay Transcript at 21–22; Case No. 4:19-cv-06013-JST, ECF 98 (“Order Denying Motion to

 8   Dismiss”). As the Services begrudgingly admit, Fed. Mot. at 29–30, this Court found that “an

 9   enhanced risk of biodiversity loss and degradation of fish and wildlife natural resources clearly
10
     follows from the Services’ alleged weakening of ESA safeguards.” Order Denying Motion to
11
     Dismiss at 9. The Court also noted that, “[b]ecause declines in species populations and
12
     extinction of species is difficult or impossible to remedy, plaintiffs need not wait until these
13
     harms occur before challenging the government action leading to the potential destruction.” Id.
14

15   at 10 (citation and quotation omitted); see also Stay Transcript at 22. As the U.S. Supreme Court

16   recognized over forty years ago, the value of endangered species is “incalculable” and listed
17   species must be conserved “whatever the cost.” Tenn. Valley Auth. v. Hill, 437 U.S. 153, 184,
18
     187 (1978).
19
            While the Services vaguely claim that this Court’s prior findings of harm or potential
20
     harm to Plaintiffs from implementation of the 2019 Rules is different from the demonstration of
21

22   harm required for remand with vacatur (Fed. Mot. at 30), they fail to explain why or how the two

23   standards differ, either legally or practically. The Services also incorrectly claim that Plaintiffs

24   “fail to present even one concrete example of how implementation of the 2019 Rules harms their
25   stated interests,” when in fact Plaintiffs have offered many examples in their complaints and
26
     oppositions to the motions to dismiss and stay. Regardless, it is the moving party’s burden to
27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                17
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 23 of 32



 1   show that the balance of equities favor remand without vacatur, a burden which the Services
 2   have wholly failed to meet here. Ctr. for Env’t Health, 2016 WL 3383954, at *13.
 3
                    2.      Leaving the 2019 Rules in effect will cause legal turmoil and public
 4                          confusion, while vacatur will not cause significant regulatory disruption.

 5          Beyond continued harm to imperiled species and their habitat, and contrary to the
 6   Services’ assertion (Fed. Mot. at 29), increased legal disruptions and public confusion will result
 7
     from leaving the 2019 Rules in place. Remand without vacatur means the Services would
 8
     continue to be subject to the unlawful 2019 Rules and tasked with continuing to implement them.
 9
     Moreover, the Services admit that these rules are riddled with fundamental legal errors and are
10

11   currently causing public confusion and regulatory uncertainty. See Third Frazer Decl. ¶¶ 4–11;

12   Fourth Rauch Decl. ¶¶ 7–8. Consequently, remand without vacatur is untenable as it would lead

13   to unsupported and unauthorized regulatory decisions with serious environmental consequences,
14   applying regulations that the Services themselves concede are unlawful, not adequately
15
     supported, and confusing to both the public, regulated entities, and other federal agencies taking
16
     actions subject to ESA requirements. Id. From a practical standpoint, it makes no sense for the
17
     Services to be applying concededly invalid and vulnerable regulations on an ongoing basis while
18
19   they are being revised.

20          If the Court grants the Services’ motion, it would effectively guarantee that the 2019

21   Rules will remain in place indefinitely without any firm commitment to changing provisions that
22
     the Services themselves admit raise “substantial concerns.” Contrary to their prior
23
     representations in the stay motion that the proposed revised rules would be submitted to the
24
     OMB by October 18, 2021, the Services have now withdrawn the proposed revised rules from
25
     OMB review and have offered no revised timeline for new rulemakings. See Third Frazer Decl.
26

27   ¶¶ 12–14; Fourth Rauch Decl. ¶¶ 6, 9–11. Instead, the Services state that the previously-

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                18
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 24 of 32



 1   promised timeframes were contingent upon the Court granting their stay motion, and that,
 2   despite their having made “significant progress on draft proposals to revise the Section 4 and
 3
     Section 7 regulations,” the Court’s denial of the stay caused the agencies to shift their focus
 4
     “back to the litigation and away from the rulemakings.” Third Frazer Decl. ¶ 13; Fourth Rauch
 5
     Decl. ¶¶ 10. 9
 6

 7           In contrast, vacatur of the 2019 Rules—which have only been in place for a little over

 8   two years and have been under a significant litigation cloud for that entire time—would return

 9   the regulatory framework to the status quo ante of a regulatory program that was in effect for the
10
     past 30 years or more. See, e.g., Third Frazer Decl. ¶ 5 (prior Section 4(d) rule “had been in
11
     effect for approximately forty years” and “worked to conserve threatened species efficiently”), ¶
12
     6 (expressing concern re 2019 Rule’s “elimination of longstanding regulatory language”
13
     regarding listing decisions). Consequently, vacatur would not cause an abrupt alteration of the
14

15   regulatory program or regulatory uncertainty as the Services claim. See Fed. Mot. at 29. The

16   Services have decades of experience implementing the pre-2019 regulations, and there is
17   extensive federal court analysis and precedent governing those rules, including multiple U.S.
18
     Supreme Court decisions. Returning to that status quo would result in the least disruption for the
19
     Services, the public, and the courts, while mitigating the ongoing environmental harm caused by
20
     continued implementation and application of the 2019 Rules. See Cal. by & Through Becerra v.
21

22   Azar, 501 F. Supp. 3d 830, 843 (N.D. Cal. 2020) (“[V]acating the agency’s action simply

23   preserves a status quo that has existed since at least the early 1990’s while the agency takes the

24

25
     9
26     The Services are now reevaluating the schedule to revise the 2019 Rules in light of the pending
     litigation, and state that they will only commit to doing so “expeditiously” if the Court grants
27   their motion to remand without vacatur. Third Frazer Decl. ¶ 14; Fourth Rauch Decl. ¶¶ 6, 11.
28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                19
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 25 of 32



 1   time it needs to give proper consideration to the matter”); see also Burke v. Coggins, 521 F.
 2   Supp. 3d 31, 44 (D.D.C. 2021) (“[R]eturn to the status quo causes little or no disruption”).
 3
            There is also no merit to the Services’ claim that remand with vacatur would cause
 4
     disruptive consequences due to the risk of “confusion among the public, other agencies, and
 5
     stakeholders.” Fed. Mot. at 29. The Services’ own declarants contradict this argument. See,
 6

 7   e.g., Third Frazer Decl. ¶ 7 (stating that new Section 4 Rule “created confusion for the public”).

 8   The public is well aware that there is a new Administration and that the Services intend to

 9   rescind and revise the 2019 Rules, as they publicly announced in June 2021. Fed. Mot. at 17 n.9.
10
     In fact, it seems much more likely that leaving the invalid rules in place for an indefinite period
11
     while work to rescind or revise them goes on behind the scenes will cause far greater confusion
12
     and uncertainty. Furthermore, the Services can hardly complain about “public confusion” and
13
     uncertainty when they presented schedules for revised rulemakings to Plaintiffs, this Court, and
14

15   the public a few months ago only to abandon those timelines. The Services’ decision to pull the

16   plug on rulemaking proposals on which they had already made “significant progress” is surely
17   the primary cause of the confusion and uncertainty in this matter. Third Rauch Decl. ¶ 13;
18
     Fourth Rauch Decl. ¶ 10.
19
            The Services further argue that remand without vacatur would not result in any
20
     disruptions because “remand would establish an orderly process in which the Services would
21

22   have the opportunity to present a proposed rule, explain the rationale for the proposed changes,

23   take public comment” and then publish a final rule. Fed. Mot. at 29. But the Services can and

24   must undertake this “orderly process” under the APA, NEPA, and other laws for any new
25   rulemaking, regardless of whether the 2019 Rules are vacated. Moreover, vacating and
26
     remanding the 2019 Rules “does not dictate how the agency should comply with the law in the
27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                20
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 26 of 32



 1   future. Rather, it leaves to the agency the discretion of how to appropriately proceed.” League
 2   of Wilderness Defs./Blue Mountains Biodiversity Project v. Pena, 2015 WL 1567444, at *5 (D.
 3
     Or. Apr. 6, 2015). The Court would not be interfering with the Services’ APA process; the
 4
     Services would be free to revisit the analysis underpinning the 2019 Rules on a clean slate.
 5
            Ultimately, the Services’ arguments are insufficient to justify departing from the ordinary
 6

 7   remedy of remand with vacatur. The Services have not given any “indication that [they] … or

 8   anyone else would be seriously harmed or disrupted” if the 2019 Rules were vacated. ASSE

 9   Int’l, Inc., 182 F. Supp. 3d at 1065. And the Services fail to demonstrate that vacatur would
10
     result in such “serious and irremediable harms that [they] significantly outweigh the magnitude
11
     of the [Services’] error.” Klamath-Siskiyou Wildlands Ctr., 109 F. Supp. 3d at 1242 (citation
12
     omitted). Even if vacatur resulted in some additional burden to the Services, such “possible
13
     procedural difficulties” simply do not “warrant departure from the default of vacatur.”
14

15   AquAlliance v. U.S. Bureau of Reclamation, 312 F. Supp. 3d 878, 882 (E.D. Cal. 2018); see Ctr.

16   for Native Ecosystems v. Salazar, 795 F. Supp. 2d 1236, 1243 (D. Colo. 2011) (concluding that
17   harms associated with delay and cost due to compliance with requirements to protect endangered
18
     species that would be reinstated as a result of vacatur are “irrelevant” to the court’s analysis
19
     because such harms contradict Congressional intent to protect endangered species).
20
     Consequently, the Court should vacate the 2019 Rules to ensure that imperiled species and their
21

22   habitat are protected while the Services revisit the rules.

23                  3.      Remand with vacatur is within the Court’s equitable powers.

24          The Court should vacate the 2019 Rules because they are unlawful. And, as the Services
25   admit, “[c]ourts have recognized that definitive findings on the merits are not required in order to
26
     vacate a challenged agency action.”). Fed. Mot. at 27 n.10. Another court in this district
27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                21
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 27 of 32



 1   recently vacated a Clean Water Act regulation promulgated during the Trump Administration
 2   which EPA sought to remand without vacatur. In re Clean Water Act Rulemaking, Nos. 20-
 3
     04636-WHA, 20-04869-WHA, 20-06137-WHA, 2021 WL 4924844 (N.D. Cal Oct. 21, 2021),
 4
     appeals docketed and motions to stay filed by defendant-intervenors, Nos. 21-16958, 21-16960,
 5
     21-16961 (9th Cir.). The court in In re Clean Water Act Rulemaking sided with other district
 6

 7   courts in this Circuit that have found the authority to vacate agency actions upon remand without

 8   a final determination of the action’s legality. Id. at *7 (citing Pascua Yaqui Tribe v. EPA, 2021

 9   WL 3855977 (D. Ariz. Aug. 30, 2021)); All. for Wild Rockies v. Marten, 2018 WL 2943251, at
10
     *2–3 (D. Mont. June 12, 2018); N. Coast Rivers All. v. Dep’t of the Interior, 2016 WL 8673038,
11
     at *6 (E.D. Cal. Dec. 16, 2016)). The In re Clean Water Act Rulemaking court found the
12
     reasoning in Center for Native Ecosystems persuasive: “because vacatur is an equitable remedy,
13
     and because the APA does not expressly preclude the exercise of equitable jurisdiction, the APA
14

15   does not preclude the granting of vacatur without a decision on the merits.” 795 F. Supp. 2d at

16   1241– 42.
17          As discussed above, remands, including voluntary remands, are typically accompanied by
18
     vacatur of the challenged rule; courts only leave agency actions in place “when equity demands.”
19
     Cal. Cmtys. Against Toxics, 688 F.3d at 992. And equity fundamentally demands vacatur here
20
     because “leaving an agency action in place while the agency reconsiders may deny the
21

22   petitioners the opportunity to vindicate their claims in federal court and would leave them subject

23   to a rule they have asserted is invalid.” In re Clean Water Act Rulemaking, 2021 WL 4924844,

24   at *4; see also California v. BLM, 277 F. Supp. 3d 1106, 1126 (N.D. Cal. 2017) (departing from
25   the default remedy of vacatur risks giving agencies a “free pass ... to exceed their statutory
26
     authority and ignore their legal obligations under the APA, making a mockery of the statute”).
27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                22
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 28 of 32



 1   That concern is particularly acute here where the 2019 Rules suffer from serious and pervasive
 2   legal deficiencies, the Services acknowledge substantial flaws in the 2019 Rules, and the
 3
     Services fail to defend the 2019 Rules. Granting voluntary remand without vacatur would
 4
     insulate the 2019 Rules from judicial review, locking in years’ worth of harm to imperiled
 5
     species and their critical habitat with no legal recourse. Consequently, if the Court remands the
 6

 7   2019 Rules, it should only do so with vacatur.

 8   II.    IN THE ALTERNATIVE, THE COURT SHOULD DENY THE SERVICES’ MOTION
            FOR VOLUNTARY REMAND AND ADDRESS THE MERITS OF THIS CASE.
 9
            If the Court decides that it cannot remand the 2019 Rules with vacatur at this time, then
10

11   Plaintiffs ask the Court, in the alternative, to deny the Services’ remand motion in its entirety and

12   proceed to hear and rule on the merits of the Plaintiffs’ motions for summary judgment. Courts

13   have broad discretion to deny an agency’s remand request when the primary questions concern
14   issues of statutory interpretation: judicial discretion to deny remand applies if “the agency is
15
     either compelled or forbidden by the governing statute to reach a different result” than the
16
     challenged decision. SKF USA, Inc. v. United States, 254 F.3d 1022, 1029 (Fed. Cir. 2001); see
17
     also N. Coast Rivers All., 2016 WL 8673038, at *3 (“Courts in [the Ninth Circuit] generally look
18
19   to the Federal Circuit’s decision in SKF USA for guidance when reviewing requests for voluntary

20   remand”).

21          Here, the Court has discretion to deny a remand because the Services are compelled by
22
     the ESA, NEPA, and the APA to reach a different result than the 2019 Rules, and concomitantly
23
     were forbidden by these statutes to adopt the 2019 Rules, on both substantive and procedural
24
     grounds. See SKF USA, 254 F.3d at 1029. Given the Court’s broad discretion in this matter,
25
     denial of voluntary remand is entirely appropriate. First, by continuing to the merits of
26

27   Plaintiffs’ summary judgment claims, and as discussed in Plaintiffs’ opposition to the stay

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                23
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 29 of 32



 1   motion, the Services will benefit from the Court’s reasoning when they proceed with any new
 2   rulemakings. See Wagner v. Principi, 370 F.3d 1089, 1092–97 (Fed. Cir. 2004) (exercising
 3
     discretion to reach the merits of a statutory interpretation issue, rather than granting a voluntary
 4
     remand). Rather than potentially committing the same legal errors that plague the 2019 Rules,
 5
     and being subject to yet another legal challenge, the Services would be able to revise the rules
 6

 7   grounded in this Court’s legal analysis.

 8          Second, as explained above, denial of remand without vacatur is necessary to avoid

 9   undue prejudice to Plaintiffs. See, e.g., Util. Solid Waste Activities Grp. v. EPA, 901 F.3d 414,
10
     436 (D.C. Cir. 2018) (denying voluntary remand where remand would prejudice environmental
11
     petitioners); Chlorine Chemistry Council v. EPA, 206 F.3d 1286, 1288 (D.C. Cir. 2000) (noting
12
     denial of agency request for voluntary remand where plaintiffs were left “subject to a rule they
13
     claimed was invalid”). The Services may take years on remand to rescind and revise these
14

15   unlawful rules; despite previous assurances to the Court and Plaintiffs about the rulemaking

16   schedule, they have already delayed all further action on proposed rules that were almost ready
17   for review at OMB. Third Frazer Decl. ¶ 13; Fourth Rauch Decl. ¶ 10. In addition, new
18
     rulemakings might address some of Plaintiffs’ claims, but plainly not all of them. And without
19
     vacatur, new rulemakings would do nothing to address the ongoing harm caused by the 2019
20
     Rules in the meantime, including the failure to comply with NEPA before promulgation.
21

22   Therefore, if the Court does not remand with vacatur, the Court should deny the Services’

23   motion for voluntary remand and instead rule on Plaintiffs’ summary judgment motions. 10

24

25
     10
26     The Services have already spoken on summary judgment: “[b]ecause the Services intend to
     reconsider the 2019 ESA Rules, the request for voluntary remand also constitutes Federal
27   Defendants’ response to Plaintiffs’ motions for summary judgment.” Fed. Mot. at 19.
28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                24
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 30 of 32



 1                                            CONCLUSION
 2          For the foregoing reasons, Plaintiffs respectfully request that the Court deny the Services’
 3
     motion for voluntary remand without vacatur and instead either remand with vacatur of the 2019
 4
     Rules, or, in the alternative, proceed to rule on the Plaintiffs’ pending motions for summary
 5
     judgment.
 6

 7
            Respectfully submitted this 23rd day of December, 2021.
 8

 9                                                s/ Kristen L. Boyles
                                                  KRISTEN L. BOYLES (CSBA # 158450)
10                                                PAULO PALUGOD (WSBA # 55822)*
                                                  EARTHJUSTICE
11                                                810 Third Avenue, Suite 610
                                                  Seattle, WA 98104
12                                                Ph: (206) 343-7340
                                                  kboyles@earthjustice.org
13                                                ppalugod@earthjustice.org

14                                                ANDREA A. TREECE (CSBA # 237639)
                                                  EARTHJUSTICE
15                                                50 California Street, Suite 500
                                                  San Francisco, CA 94111
16                                                Ph: (415) 217-2089
                                                  atreece@earthjustice.org
17
                                                  Attorneys for Plaintiffs Center for Biological
18                                                Diversity, Defenders of Wildlife, Sierra Club,
                                                  National Parks Conservation Association,
19                                                WildEarth Guardians, and The Humane Society of
                                                  the United States
20
                                                  REBECCA RILEY (ISBA # 6284356)*
21                                                NATURAL RESOURCES DEFENSE COUNCIL
                                                  20 North Wacker Drive, Suite 1600
22                                                Chicago, IL 60606
                                                  Ph: 312-651-7900
23                                                rriley@nrdc.org

24                                                Attorney for Natural Resources Defense Council

25

26

27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                25
           Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 31 of 32



 1                                        KARIMAH SCHOENHUT (DCB #1028390)*
                                          SIERRA CLUB
 2                                        50 F. St. NW, 8th Floor
                                          Washington, DC 20001
 3                                        Ph: 202-548-4584
                                          karimah.schoenhut@sierraclub.org
 4
                                          Attorney for Sierra Club
 5
                                          RYAN ADAIR SHANNON (OSB # 155537)*
 6                                        CENTER FOR BIOLOGICAL DIVERSITY
                                          P.O. Box 11374
 7                                        Portland, OR 97211
                                          Ph: 503-283-5474 ext. 407
 8                                        rshannon@biologicaldiversity.org
 9                                        Attorney for Center for Biological Diversity
10                                        *Admitted pro hac vice
11

12

13

14

15

16

17
18
19

20

21

22

23

24

25

26

27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                26
             Case 4:19-cv-05206-JST Document 149 Filed 12/23/21 Page 32 of 32



 1                                      CERTIFICATE OF SERVICE
 2          I hereby certify that on December 23, 2021, I electronically filed the foregoing document
 3
     with the Clerk of the Court using the CM/ECF system, which will send notification of this filing
 4
     to the attorneys of record and all registered participants.
 5
     Dated: December 23, 2021.                      s/ Kristen L. Boyles
 6                                                  KRISTEN L. BOYLES (CSBA # 158450)
 7

 8

 9

10

11

12

13

14

15

16

17
18
19

20

21

22

23

24

25

26

27

28
     PLAINTIFFS’ JOINT OPPOSITION TO MOTION FOR VOLUNTARY REMAND WITHOUT VACATUR
     Case No. 4:19-cv-05206-JST                27
